QosseloereeyQORPes Wnty Oseumeehiay Pied eaesi2a Rage 4 of4 FILEC

2024 Apr-22 AM 08:1.
U.S, DISTRICT COUR’
N.D. OF ALABAM,

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ALABAMA

SOUTHERN DIVISION
SOUTHPOINT BANK, }
Plaintiff,
v. | Case No.: 2:22-cv-01348-MHH
LIFEHOPE EQUIPMENT
LEASING, LLC, et al., }
Defendants.

FINAL JUDGMENT

Consistent with the Court’s February 16, 2024 memorandum opinion and with
Doc. 45, p. 3, the Court enters judgment in favor of plaintiff SouthPoint Bank in the
amount of $3,302,891.05 against defendants Lifehope Equipment Leasing, LLC;
Lifehope Labs, LLC; and Scott Crandall Honan.'! The Court asks the Clerk to please
close this file.

DONE and ORDERED this April 19, 2024.

Madlib Haale

MADELINE HUGHES HAIKALA
UNITED STATES DISTRICT JUDGE

A‘TRUE COPY
GREER M. LYNCH, CLERK
UNITED STATES DISTRICT COURT

' The judgment includes an award of $234,240.22 in attoMPay ce RTA eMsest 0b
BY:
DEPUTY CLERK

